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  6                             UNITED STATES DISTRICT COURT
  7                         CENTRAL DISTRICT OF CALIFORNIA
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  9 GABRIELA SOLANO, on behalf of              Case No. 2:21-cv-01576-AB (KSx)
      herself and those similarly situated,
 10                                            ORDER GRANTING JOINT
 11                Plaintiff,                  STIPULATION FOR EXTENSION
                                               OF TIME TO MOVE TO RE-OPEN
 12         vs.                                ACTION AND TO FILE MOTION
                                               FOR ATTORNEY’S FEES
 13 U.S. IMMIGRATION AND

 14
      CUSTOMS ENFORCEMENT; TAE D.
      JOHNSON, Acting Director of U.S.
 15   Immigration and Customs Enforcement;
      THOMAS P. GILES, Director of Los
 16   Angeles Field Office, U.S. Immigration
      and Customs Enforcement; DAVID
 17   JENNINGS, Director of San Francisco
 18   Field Office, U.S. Immigration and
      Customs Enforcement,
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                   Defendants.
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  1        Based upon the parties’ Joint Stipulation for Extension of Time to Move to
  2 Re-Open Action and to File Application for Attorney’s Fees, (Dkt. No. 63), and

  3 good cause appearing, the Court hereby GRANTS the parties an extension of time

  4 until May 25, 2022, to move to re-open the action upon good cause shown if the

  5 settlement is not consummated, and GRANTS Plaintiff an extension of time until

  6 May 25, 2022, to file a motion for attorney’s fees, expenses, and costs pursuant to

  7 the Equal Access to Justice Act (“EAJA”), 28 U.S.C. § 2412.

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  9 IT IS SO ORDERED.

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      DATED: April 19, 2022

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 13
                                            HON. ANDRÉ BIROTTE JR.
 14                                         UNITED STATES DISTRICT JUDGE
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